    Case 4:19-cr-00148-RSB-CLR Document 33 Filed 10/09/19 Page 1 of 1




                   UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


UNITED STATES OF AMERICA,


          v.                                     CASE NO.: 4:19-CR-148-1


EARL WILLIAMS,

               Defendant.

                                      ORDER

      Upon consideration of the Motion for Leave of Absence filed in the above-styled

matter by Attorney Matthew G. Midgett for the dates of December 16, 2019 through

December 20, 2019, the same is hereby GRANTED.



                             �
      SO ORDERED this, the    ay of October, 2019.




                                        NORABL CHRISTOPHER L. RA
                                      UNITED STATES MAGISTRATE COl!JRT
                                      SOUTHERN DISTRICT OF GEORGIA
